Case 2:23-cv-00117-PLM-PJG ECF No. 33, PageID.202 Filed 09/14/23 Page 1 of 4




                    UNITED STATES DISTRICT COURT

              FOR THE WESTERN DISTRICT OF MICHIGAN
                            *****

KAREN HOTTENROTT, an individual;
TAMMY MOYER, f/k/a TAMMY
CAIRNS, an individual; ESTATE OF
BARBARA L. GETTYS, by heir and               Case No. 2:23-cv-117
representative, BRYAN BETTS; DAD
COMPANY, a Michigan Corporation, by          HON. PAUL L. MALONEY
President DEAN BORLAND; ESTATE
OF SHERRI BUFORD, by personal
representative,     LUCRETIA       Y.
BUFORD; ESTATE OF JOSEPH
WERTZ, by heir and representative,
JASON WERTZ; DENISE JOHNSON,
an individual; JEFFREY SMITH, an
individual;     TED    KOLASA,     an
individual; LAWRENCE PAQUIN, an
individual; MARSHALL SLATER, an
individual; ROGER ADKINS, an
individual; JASON BLOWERS, an
individual; ESTATE OF TREVA JEAN
KENYON, by heir and representative,
VICKIE DAVIS; JEAN ANN EIB, an
individual; JOHNNY ANTHONY, an
individual; JAMES HALEY, an
individual; KIM MOSIER, an individual;
MARK MCCRONE, an individual;
MAKINI NYANTEH, an individual;
EDWARD AND DOROTHY KETOLA,
a married couple; and JAMES ELWELL,
an individual,

           Plaintiffs,

-vs-
Case 2:23-cv-00117-PLM-PJG ECF No. 33, PageID.203 Filed 09/14/23 Page 2 of 4




IRON COUNTY, a Governmental Unit;
MELANIE CAMPS, in her individual and
official      capacity;      MENOMINEE
COUNTY, a Governmental Unit;
BARBARA PARRETT, in her individual
and      official     capacity;    DIANE
LESPERANCE, in her individual
capacity; KALAMAZOO COUNTY, a
Governmental Unit; THOMAS L.
WHITENER, in his individual and
official capacity; MARY BALKEMA, in
her individual capacity; ANTRIM
COUNTY, a Governmental Unit;
SHERRY A. COMBEN, in her individual
and official capacity; CALHOUN
COUNTY, a Governmental Unit; BRIAN
W. WENSAUER, in his individual and
official       capacity;        CHRISTINE
SCHAUER, in her individual capacity;
EATON COUNTY, a Governmental
Unit; ROBERT ROBINSON, in his
individual      and     official  capacity;
BERRIEN COUNTY, a Governmental
Unit; SHELLY WEICH, in her individual
and       official     capacity;     BRET
WITKOWSKI, in his individual capacity;
BARRY COUNTY, a Governmental
Unit; and SUSAN VANDECAR, in her
individual and official capacity,

             Defendants.




           ORDER GRANTING STIPULATION TO STAY CASES




                                          2
Case 2:23-cv-00117-PLM-PJG ECF No. 33, PageID.204 Filed 09/14/23 Page 3 of 4




      Upon the stipulation of the parties and the Court being otherwise fully advised

in the premises:

      IT IS HEREBY ORDERED all proceedings and deadlines are stayed and held

in abeyance for the matters listed in Exhibit A, pending order from the Court

following the status conference set for September 26, 2023.

      SO ORDERED.

        September 14, 2023
Dated:__________________                       /s/ Paul L. Maloney
                                             _____________________
                                             Hon. Paul L. Maloney




                                         3
Case 2:23-cv-00117-PLM-PJG ECF No. 33, PageID.205 Filed 09/14/23 Page 4 of 4




                       EXHIBIT A: LIST OF CASES

            Case Name                        Case Number

            36th St Properties v. Kent       1:23-cv-00766
            Avery v. Kent                    1:23-cv-00929
            Boniface v. Barry                1:23-cv-00871
            Bristol v. Kent                  1:23-cv-00900
            Cole v. Mackinac                 2:23-cv-00159
            Fingal v. Ontonagon              2:23-cv-00061
            Gerlach v. Mackinac              2:23-cv-00147
            Havela v. Gogebic                2:23-cv-00124
            Hottenrot v. Iron                2:23-cv-00117
            Hurlburt v. Osceola              1:23-cv-00906
            Jones v. Baraga                  2:23-cv-00162
            Kleyn v. Muskegon                1:23-cv-00928
            Kyser v. Kalkaska                1:23-cv-00893
            Larson v. Marquette              2:23-cv-00175
            Leidecker Farrier v. Missaukee   1:23-cv-00873
            Morrison v. Gogebic              2:23-cv-00120
            Paul v. Marquette                2:23-cv-00121
            Smith v. Calhoun                 1:23-cv-00789
            Strong v. Marquette              2:23-cv-00150
            Theison v. Dickinson             2:23-cv-00129
            Veen Price v. Chippewa           2:23-cv-00138
            Wolfe v. Alger                   2:23-cv-00146
